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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


RONDA RACCA, Individually and §
on behalf of all similarly situated
                              §
persons,                      §
                              §
       Plaintiffs,            §
                              §
vs.                           §                       Case No. _______________________
                              §
EFG GENERAL PARTNER CORP.;    §
EDUCATION FUTURES             §
MANAGEMENT, COMPANY;          §
EDUCATION FUTURES GROUP, LLC §
COMPUTER CAREER CENTER, L.P. §
d/b/a VISTA COLLEGE; PROSPECT §
PARTNERS, LLC; JIM TOLBERT;   §
MICHAEL McINERNEY and LOUIS   §
KENTER,                       §
                              §
       Defendants.            §

     DECLARATION OF MICHAEL MCINERNEY IN SUPPORT OF NOTICE OF
                            REMOVAL

       I, Michael McInerney, declare:

   1. My name is Michael McInerney. I am named as one of the Defendants in the above-styled

action. I am over 21 years old and have personal knowledge of the information in this Declaration

in my capacity as Vice President at Prospect Partners, LLC, based on my review of company

records and my investigation into the matters addressed herein. If called to testify, I would and

could competently testify to the facts in this Declaration.

   2. I am currently employed by Prospect Partners, LLC as Vice President. I have been

employed in this role since September 2015. My duties at the company include investing in and

advising niche manufacturing, value-add distribution, specialty service and other fast-growing


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companies, and managing select portfolio company relationships and sourcing and executing

transactions.

   3. Prospect Partners, LLC is a limited liability company organized under the laws of the State

of Delaware. Until recently, Prospect Partners, LLC’s headquarters was located at 200 West

Madison Street, Suite 2710, Chicago, IL 60606. Prospect Partners, LLC is currently in the process

of opening a new office, which will serve as its headquarters, located at 227 West Monroe Street,

Suite 3550, Chicago, IL 60606.

   4. I currently reside full time at 1137 North Wood Street in Chicago, Illinois 60622. I

currently have no plans to move my permanent residence from Illinois.




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       I declare under penalty of perjury under the laws of the States of Texas and Illinois, and

the laws of the United States of America, that the foregoing is true and correct.



Dated: March      , 2022




                                           By:
                                                 Michael McInerney




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